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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                   Case No. 3:08cr83/LAC

CORPORATE HORIZONS, INC

_____________________________________________________________________

                            ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which
there have been no timely objections, and subject to this Court’s consideration of the Plea Agreement
pursuant to Fed. R. Crim. P. 11, the plea of guilty of the Defendant, CORPORATE HORIZONS,
INC, to Counts I and II of the Indictment is hereby ACCEPTED. All parties shall appear before
this Court for sentencing as directed.
       ORDERED on this 24th day of October, 2008.




                                                               s/L.A. Collier
                                                               Lacey A. Collier
                                                       Senior United States District Judge
